                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MINNESOTA


                                                        Case No. 0:23-cv-01433-JRT-DJF

 In re: Lindell Management LLC Litigation         DECLARATION OF ALEC J. BECK




       I, Alec J. Beck, state and declare as follows:

       1.     I am an attorney with the law firm of Parker Daniels Kibort LLC and I am

one of the attorneys representing Lindell Management, LLC in the above-referenced case,

and as such have personal knowledge of the facts stated below. I submit this Declaration

in support of Lindell Management, LLC’s Memorandum of Law Opposing Robert

Zeidman’s Motion to Confirm Arbitration Award.

       2.     Attached as Exhibit 1 is a true and correct copy of excerpts from arbitration

transcript day one dated January 17, 2023.

       I declare under penalty of perjury that everything I have stated in this document is

true and correct.

                                              PARKER DANIELS KIBORT LLC

 Dated:     August 25, 2023             By: /s/ Alec J. Beck
                                            Andrew Parker (#195042)
                                            Alec J. Beck (#201133)
                                            888 Colwell Building
                                            123 N. Third Street
                                            Minneapolis, MN 55401
                                            612-355-4100
                                            parker@parkerdk.com
                                            beck@parkerdk.com

                                              Attorneys for Respondent Lindell
                                              Management, LLC
